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                                                                      June 26, 2023

 BY ECF

 Honorable Jessica S. Allen, U.S.M.J.
 United States District Court for the District of New Jersey
 Martin Luther King Jr. Bldg. & U.S. Courthouse
 50 Walnut Street
 Newark, New Jersey 07102

          Re:       Mylan Pharms. Inc. v. Teva Pharms. Indus. Ltd., et al.,
                    Civil Action No. 2:21-13087 (JXN) (JSA)

                    In re Copaxone Antitrust Litig.,
                    Civil Action No. 2:22-cv-1232 (JXN-JSA)

          Dear Judge Allen:

          We, along with our co-counsel Wilson Sonsini Goodrich & Rosati, represent Plaintiff Mylan
 Pharmaceuticals Inc. (“Mylan”) in the first-listed matter. We submit this letter in connection with the
 Court’s Order scheduling a Status Conference for June 28, 2023 (ECF No. 114), and Teva’s recent
 letter to Your Honor (ECF No. 115).

         To assist with Your Honor’s scheduling of the upcoming Status Conference, we would like to
 apprise the court of Mylan’s upcoming availability. Counsel for Mylan remains available to attend the
 Status Conference as currently scheduled on June 28, and likewise virtually every day in July,
 including the following: July 3, July 5 – 7, July 10, July 12 – 14, July 18, and July 24 – 27. We have
 conferred with counsel for the other parties, and they have provided the following availability. Counsel
 for Defendants are available on July 17 – July 20, July 24, and July 27 – 28. Additionally, counsel for
 the Third-Party Plaintiffs are available on July 18, and July 24 – 27.

                                                                      Respectfully submitted,

                                                                      /s Arnold B. Calmann

                                                                      Arnold B. Calmann

 cc:      Counsel of Record (by ECF)




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